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  14   Attorneys for Defendant and Counter Claimant Acacia Communications, Inc.
  15                               UNITED STATES DISTRICT COURT
  16                             SOUTHERN DISTRICT OF CALIFORNIA

  17   ViaSat, Inc.,                             Case No. 3:16-cv-00463-BEN-JMA
       a Delaware corporation,
  18                                             EX PARTE APPLICATION TO
  19                    Plaintiff                CONTINUE THE UPCOMING
                        and Counter Defendant,   FINAL PRETRIAL CONFERENCE
  20
       v.
  21                                             Judge: Hon. Roger T. Benitez
       Acacia Communications, Inc.,              Mag. Judge: Hon. Jan M. Adler
  22   a Delaware corporation,
  23                                             NO ORAL ARGUMENT
                        Defendant                APPLICATION UNDER
  24                    and Counter Claimant.    SUBMISSION
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       Ex Parte Application To Continue                         Case No. 3:16-CV-00463-BEN-JMA
       The Upcoming Final Pretrial Conference
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   1           TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
   2           PLEASE TAKE NOTICE that Defendant and Counter Claimant Acacia
   3   Communications, Inc. (“Acacia”) applies for an Order to continue the upcoming
   4   September 4, 2018 Final Pretrial Conference until after the resolution of the parties’
   5   seven pending and potentially dispositive motions for summary judgment and to strike
   6   and/or exclude expert opinion testimony. Continuing the Final Pretrial Conference
   7   would avoid unnecessarily consuming the Court’s and the parties’ resources while the
   8   motions are pending.
   9           The Court has scheduled the Final Pretrial Conference for about a week from
  10   now on September 4, 2018, at 10:30 AM. (Dkt. No. 192). As the Court is aware, the
  11   parties have seven pending motions, several of which are potentially dispositive. (Dkt.
  12   Nos. 75, 83, 86, 89, 93, 95, 98). The Court had previously consolidated the hearings
  13   on these motions into a single hearing date, set for April 30, 2018. (Dkt. No. 152,
  14   157). The Court thereafter vacated the hearings. (Dkt No. 160). Resolving those
  15   motions may also resolve some or all of the issues in dispute in this case.
  16           Good cause exists for continuing the Final Pretrial Conference. It would be
  17   inefficient and impractical for the parties to prepare for and attend the Pretrial
  18   Conference – including cross-country travel by several attorneys – without knowing
  19   what issues (if any) remain for trial; accordingly, the Court’s and the parties’ efforts
  20   may be wasted, in whole or in part. Hence, both the Court and the parties will benefit
  21   from continuing the Final Pretrial Conference until after the Court resolves the
  22   pending motions.
  23           Acacia therefore respectfully requests that the Court issue an amended
  24   scheduling order in the proposed form emailed to chambers. This Ex Parte
  25   Application is based on the good cause set forth above, and all of the pleadings and
  26   exhibits on file.
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       Ex Parte Application To Continue                                Case No. 3:16-CV-00463-BEN-JMA
       The Upcoming Final Pretrial Conference                                                      1
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   1
       Date: August 28, 2018                    Respectfully Submitted,
   2
   3                                            WOLF, GREENFIELD & SACKS, P.C.
   4
                                                By: s/Michael A. Albert
   5                                            Michael A. Albert
                                                Hunter D. Keeton
   6
                                                Stuart V. C. Duncan Smith
   7
                                                Attorneys for Defendant and Counter
   8
                                                Claimant Acacia Communications, Inc.
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       Ex Parte Application To Continue                        Case No. 3:16-CV-00463-BEN-JMA
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   1                             LOCAL RULE 83.3(G) DECLARATION
   2           On August 27, 2018, I conferred with counsel for Viasat, Inc., at which time I
   3   provided notice of Acacia Communications, Inc.’s Ex Parte Application To Continue
   4   The Upcoming Final Pretrial Conference. I declare under penalty of perjury that the
   5   foregoing is true and correct.
   6
       Date: August 28, 2018                          s/Michael A. Albert
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                                                      Michael A. Albert
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       Ex Parte Application To Continue                              Case No. 3:16-CV-00463-BEN-JMA
       The Upcoming Final Pretrial Conference                                                    3
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   1                                     CERTIFICATE OF SERVICE
   2
               I certify that today I am causing to be served the foregoing document by
   3
       CM/ECF notice of electronic filing upon the parties and counsel registered as
   4
       CM/ECF Users. I further certify that, to the extent they are not registered CM/ECF
   5
       Users, I am causing the foregoing document to be served by electronic means via
   6
       email upon counsel for Viasat, Inc., per the agreement of counsel.
   7
   8   Date: August 28, 2018                          s/Michael A. Albert
                                                      Michael A. Albert
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       Ex Parte Application To Continue                              Case No. 3:16-CV-00463-BEN-JMA
       The Upcoming Final Pretrial Conference                                                    4
